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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                           CRIMINAL ACTION NO. 08-00269-01-
                                                    02-03-06-07

 VERSUS                                             JUDGE S. MAURICE HICKS, JR.

 TANDY W. MCELWEE, JR.,                             MAGISTRATE JUDGE HORNSBY
 AVA CATES MCELWEE, WENDY
 KATHLEEN BENSON CHRISS,
 SUSAN HAWN HOTARD, AND
 CARLA HUFF

                                  MEMORANDUM ORDER

       Before the Court are Motions in Limine to Exclude the Testimony of Dr. Michael

 Fleming (Record Documents 146 and 147) filed by defendants Tandy W. McElwee, Jr.

 (“Dr. McElwee”) and Wendy Kathleen Benson Chriss (“Chriss”).1 The motions were

 adopted by defendants Ava Cates McElwee (“McElwee”), Carla Huff (“Huff”), and Susan

 Hawn Hotard (“Hotard”). See Record Documents 152, 155-158.                 The Government

 opposed the motion. See Record Document 154. Neither Dr. McElwee nor Chriss filed

 a reply. For the reasons that follow, the Motions in Limine are DENIED.

       Dr. McElwee, Chriss, McElwee, Huff, and Hotard (hereinafter referred to as “the

 defendants”) seek to exclude the testimony of Dr. Michael Fleming (“Dr. Fleming”), the

 Government’s expert, on three grounds:

       1.       the Government did not comply with the provisions of Rule
                16(a)(1)(G);

       2.       Dr. Fleming is not board certified in the field practiced by Dr. McElwee
                for thirty years; and

       3.       any probative value is substantially outweighed by the prejudicial
                effect.



       1
           The motions filed by Dr. McElwee and Chriss are identical.
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 Record Document 146-2 at 2. The Government opposed the motions, specifically rebutting

 each of the grounds mentioned above, and also provided a supplemental notice of Dr.

 Fleming’s anticipated testimony. See Record Document 154, Exhibit 3.

 Federal Rule of Criminal Procedure 16(a)(1)(G)

        Rule 16(a)(1)(g) provides:

        At the defendant’s request, the government must give to the defendant a
        written summary of any testimony that the government intends to use under
        Rules 702, 703, or 705 of the Federal Rules of Evidence during its
        case-in-chief at trial. . . . The summary provided under this subparagraph
        must describe the witness’s opinions, the bases and reasons for those
        opinions, and the witness’s qualifications.

 F.R.Cr.P. 16(a)(1)(G). The defendants argued that the Government has not complied with

 the   aforementioned     rule,   as   its    report   gave     no   basis   for   Dr.   Fleming’s

 conclusions/professional opinions and did not list the materials/sources consulted in

 support of his opinions. See Record Documents 146 & 147. Conversely, the Government

 maintained that its report complied with Rule 16(a)(1)(G)’s “bases and reasons”

 requirement by virtue of Dr. Fleming’s curriculum vitae, which set forth his years of practice,

 continuing duties as a medical educator, and articles written and speeches given by him.

 See Record Document 154. The Government also supplemented its Rule 16 notice,

 specifically outlining Dr. Fleming’s review of patient charts and his conclusions based on

 such review; Dr. Fleming’s professional opinion regarding hydrocodone addiction; and Dr.

 Fleming’s training in obstetrics, gynecology, and pain management practices. See id.,

 Exhibit 3.

        The Court has reviewed the record in this matter and finds no violation of Rule

 16(a)(1)(G)’s notice requirements. In U.S. v. Lipscomb, 539 F.3d 32, 37-38 (1st Cir. 2008),

 the defendant raised a Rule 16 objection based on the Government’s alleged failure to


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 provide notice regarding the bases for the witnesses’ ultimate opinions. The district court

 overruled the objection. On appeal, the First Circuit held that the Government provided

 sufficient notice to comply with Rule 16. See id. at 38. The court reasoned:

        The Government’s notice, while by no means detailed, was enough to satisfy
        the [Rule 16] requirements. The Government informed defense counsel that
        the officers would be testifying on the basis of their “training and experience.”
        The notice clearly stated that the officers’ testimony would make conclusions
        regarding the presence of firearms and the connection between the quantity
        of crack cocaine seized from the defendant and drug distribution, and that
        those conclusions were based on the officers’ experience working in the
        police department. The inferential step necessary to go from the notice
        provided by the Government to the actual testimony given at trial is not one
        requiring more notice. Given that the defense had full notice of the actual
        opinions to which the detectives intended to testify, we are unpersuaded by
        the defendant’s criticism of the lack of detail regarding the bases for those
        opinions. In the factual context of this case, we conclude that the proffered
        notification-that the testimony would be based on knowledge gained from
        formal training and years of experience as police officers-is sufficient.

 Id. Here, as in Lipscomb, the Government’s January 30, 2009 report gave full notice of Dr.

 Fleming’s actual opinions to which he intends to testify and easily evidenced that his

 opinions were the result of years of practice, his continuing duties as a medical educator,

 and his general knowledge from training and experience. See Record Document 154,

 Exhibits 1 and 2. Moreover, in its August 30, 2009 supplemental report, the Government

 specifically outlined Dr. Fleming’s review of patient charts and his training in obstetrics,

 gynecology, and pain management practices. See id., Exhibit 3. Defense counsel in this

 case will also be free to test the merit of Dr. Fleming’s expert testimony through focused

 cross-examination.2 Accordingly, in this instance, the Government’s Rule 16(a)(1)(G)

 notice was sufficient.



        2
         Defense counsel have not specifically alleged information regarding the bases for
 the Dr. Fleming’s ultimate opinions that is essential, but has not been provided, to the
 cross-examination of Dr. Fleming.

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 Dr. Fleming’s Qualifications

        The defendants argue that Dr. Fleming, a family practitioner, is not qualified to opine

 on the usual course of professional practice of an obstetrician/gynecologist. See Record

 Document 146 & 147. The Government contended “that the expert testimony will not be

 of complicated care known only to doctors in the obstetrician/gynecologist field.” Record

 Document 154 at 3. Rather, according to the Government, Dr. Fleming’s testimony will be

 general to the care and standards of doctors in any field. See id. The Government further

 noted that Dr. Fleming is a family practitioner with training in obstetrics and gynecology,

 delivering over 500 babies in his career. See id. Dr. Fleming also has expertise in the area

 of pain management, as he teaches this topic to physicians in continuing medical

 education seminars. See id. at 3-4.

        The record in this case clearly establishes that Dr. Fleming, as part of his family

 practice training, received training in obstetrics and gynecology and that he has delivered

 over 500 babies during the course of his career. See id., Exhibit 3. He also currently

 serves as Chief Medical Officer for Antidote Education Company and routinely provides

 continuing medical education to physicians in areas such as pain management practices.

 See id. Dr. Fleming has also been qualified as an expert three times in federal court. See

 id. Accordingly, the Court finds that Dr. Fleming possesses the requisite knowledge, skill,

 experience, training, and education under Federal Rule of Evidence 702 to offer the

 challenged expert testimony in this case.

 Federal Rule of Evidence 403

        Finally, pursuant to Rule 403,3 the defendants argue that any probative value of Dr.


        3
            Rule 403 states:


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 Fleming’s testimony is substantially outweighed by the prejudicial effect. See Record

 Documents 146 & 147. This general and somewhat vague assertion appears to relate to

 the defendants’ contention that “deviation from a suggested standard [of care] is a daily

 occurrence due to the dynamics of medicine.” Record Document 146-2 at 3.

         The Court finds the defendants’ Rule 403 argument unsupported and unpersuasive.

 First, the defendants have failed to clearly articulate the particular evidence they contend

 is unduly prejudicial. Further, their contention that “the stressors of an active, obstetric

 practice “ resulted in his deviation from “some artificially created guideline[s]” is no more

 than a defense argument, not a basis for the exclusion of Dr. Fleming’s testimony, which

 again will be subject to vigorous cross-examination. See Record Document 154 at 5.

         Accordingly, the Motions in Limine to Exclude the Testimony of Dr. Michael Fleming

 (Record Documents 146 and 147) filed by Dr. McElwee and Chriss, and adopted by

 defendants McElwee, Huff, and Hotard, be and are hereby DENIED.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 9th day of September,

 2009.




         Although relevant, evidence may be excluded if its probative value is
         substantially outweighed by the danger of unfair prejudice, confusion of the
         issues, or misleading the jury, or by considerations of undue delay, waste of
         time, or needless presentation of cumulative evidence.

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